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                      IN THE DISTRICT COURT OF THE UNITED STATES
                          FOR THE MIVEJOINAM OF ALABAMA
                                   NORTHERN DIVISION
                                     701           P 3: 5 1
UNITED STATES OF AMERICA                     )

               v.
                                              1;,C‘:rT, C!!:
                                                   r tk;:iS10. ak".1-1cr-•
                                                                           3,144416
                                             )                  [18 U.S.C. § 242;
WILLIE M. BURKS, III                         )                   18 U.S.C. § 1623]
                                             )
                                             )       INDICTMENT

The Grand Jury charges:

                                          COUNT ONE
                    (Deprivation of Rights Under Color of Law: 18 U.S.C. § 242)

       On or about February 16, 2019, in Elmore County, within the Middle District of

Alabama, the defendant,

                                     WILLIE M. BURKS,III,

while acting under color oflaw as an Alabama Department of Corrections Lieutenant, willfully

deprived C.H., an inmate at Elmore Correctional Facility, of the right, secured and protected by

the Constitution and the laws of the United States, to not be subjected to cruel and unusual

punishment by one acting under color of law. Specifically, Defendant WILLIE M.BLTRKS, III,

stood by while U.O., a sergeant under the defendant's supervision, repeatedly struck C.H. with a

baton and kicked C.H. while the inmate was handcuffed, compliant, and not posing a threat to

anyone, and Defendant WILLIE M. BLTRKS, III failed to intervene, despite having the

opportunity to do so. This offense resulted in bodily injury to C.H. and involved the use of a

dangerous weapon, namely a baton.

       All in violation of Title 18, United States Code, Section 242.
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                                        COUNT TWO
                    (False Declarations before Grand Jury: 18 U.S.C. § 1623)

        On or about June 4, 2019, in Montgomery County, within the Middle District of

Alabama, the defendant,

                                     WILLIE M. BURKS,III,

under oath in a proceeding before a grand jury of the United States, knowingly made false

material declarations when he stated that he never used and tightened handcuffs and leg shackles

on Alabama Department of Corrections("ADOC")inmates in violation of ADOC guidelines,

testimony material to the grand jury's investigation into allegations of federal civil rights

offenses involving the defendant subjecting inmates at Elmore Correctional Facility to cruel and

unusual punishment while acting under color of law.

       Specifically, Defendant WILLIE M. BURKS,III, knowingly made the following false

material declarations in response to the following questions:

       Q. Handcuffs are not to be used for punishment?

       A. Correct. Right.

       and later continuing...

       Q. And there's actually some guidelines about how to place them on inmates' wrists and

       ankles, isn't there?

       A. Yes.

       Q. And the idea is that there should at least be some kind of finger width between the

       mechanical restraint itself and the body of the inmate, right?

       A. Yes.

       Q. And that's because there's a concern that damage could be done to tfie inmate if the

                                                 2
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restraints, handcuffs or shackles, are clasped too tightly, right?

A. Yes.

Q. Nerve damage can take place?

A. Yes.

Q. Tendon damage?

A. Yes.

Q. And it inflicts pain if they're too hard — or too tight, isn't it?

A. Yes.

Q. And if it is done without a purpose, then it is a form of torture, isn't it?

A. Yes.

Q. And you're aware of this?

A. Yes.

Q. Every CO is aware of this?

A. Yes.

Q. And there's absolutely no excuse for ever tightening handcuffs for the purpose of

causing pain, is there?

A. Yes.

Q. Is there an excuse?

A. No, no.

Q. Okay. You yourself, however, have routinely inflicted pain on inmates by closing

handcuffs and shackles too tightly, haven't you?

A. No.


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       and later continuing...

       Q. And you never under any circumstances ever tightened handcuffs because you were
       irritated with the fact --
       A. No
       Q. — that they were in need of your services?
       A. No.
       and later continuing...
       Q. It's your testimony today before we finish up and give the members of the grand jury
       an opportunity to ask you questions that you have never intentionally put handcuffs onto
       an inmate too tight?
       A. No.
       Q. You've never intentionally put shackles on an inmate too tight?
       A. No.
       In fact, as the defendant knew then, he had intentionally tightened inmates' handcuffs and

leg shackles in violation of ADOC guidelines.




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       All in violation of Title 18, United States Code, Section 1623.



                                                    A TRUE BILL:
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                                                    For- 04111°on


           NKLIN, SR.
UNITED STAT S ATTORNEY


BenM. Bax14'
Assistant United States Attorney


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U.S. Department of Justice


David Reese
Trial Attorney
